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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                       FORT LAUDERDALE DIVISION

  ROHAN ISAACS,                  )
                                 )
       Plaintiff,                )
                                 )
  v.                             )            Civil Case No.:
                                 )
  HARBOR TAMARAC                 )
  MANAGEMENT, LLC                )
                                 )
       Defendant.                )
  _______________________________/

       PLAINTIFF’S COMPLAINT WITH DEMAND FOR JURY TRIAL

        COMES NOW Plaintiff ROHAN ISAACS (“Plaintiff” or “Isaacs”), files his

  Complaint against Defendant, HARBOR TAMARAC MANAGEMENT, LLC

  (“Defendant” or “HTM”), and in support he states the following:

                           NATURE OF THE CLAIMS

        1.    This is an action for monetary damages, pursuant to Title VII of the

  Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq. (“Title VII”),

  Title I of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§

  12101 et seq. (“ADA”), the Family and Medical Leave Act of 1996, 29 U.S.C. §§

  2601 et seq. (“FMLA”), and the Florida Worker’s Compensation Act, Fla. Stat. Ann.

  § 440.205 to redress Defendant’s unlawful employment practices against Plaintiff

  including Defendant’s FMLA interference, unlawful discrimination, harassment,


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  retaliation against Plaintiff because of his race, disability, and exercise of his

  worker’s compensation rights leading to his unlawful termination.

                               JURISDICTION AND VENUE

         2.        This Court has jurisdiction over the claims herein pursuant to 28 U.S.C.

  §§ 1331 and 1343, as this action involves federal questions regarding deprivation of

  Plaintiff’s civil rights under Title VII and the ADA.

         3.        This Court has supplemental jurisdiction over Plaintiff’s related claims

  arising under state law pursuant to 28 U.S.C. §1367(a).

         4.        Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)

  because a substantial part of the events or omissions giving rise to this action,

  including Defendant’s unlawful employment practices alleged herein, occurred in

  this District.

                                        THE PARTIES

         5.        Plaintiff, Isaacs, is a citizen of the United States, and is and was at all

  times material, a resident of the State of Florida, residing in Broward County,

  Florida.

         6.        Defendant, HTM, is a Florida Limited Liability Company with its

  principal place of business in Vero Beach, Florida.

         7.        Defendant does business in this judicial district at 6855 NW 70th Ave,

  Tamarac, Florida 33321.


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         8.    Defendant is an employer as defined by the laws under which this

  action is brought and employs the requisite number of employees.

                         PROCEDURAL REQUIREMENTS

         9.    Plaintiff has complied with all statutory prerequisites to filing this

  action.

         10.   On August 3, 2020, Plaintiff timely dual-filed a claim with the Equal

  Employment Opportunity Commission (“EEOC”) and the Florida Commission on

  Human Relations (“FCHR”), against Defendant, satisfying the requirements of 42

  U.S.C. § 2000e-5(b) and (e), based on race, disability, and retaliation.

         11.   Plaintiff’s EEOC Charge was filed within three hundred days after the

  alleged unlawful employment practices.

         12.   On April 27, 2021 the EEOC issued to Plaintiff his Notice of Right to

  Sue.

         13.   This Complaint was filed within ninety days following Plaintiff’s

  receipt of the EEOC’s Notice of Right to Sue.

                             FACTUAL ALLEGATIONS

         14.   Plaintiff is an African American male.

         15.   In 2019, Plaintiff sustained a leg injury in the course of his work

  rendering him disabled.      Plaintiff’s leg injury was a physical condition that

  substantially limited his major life activity of walking.


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        16.    Plaintiff was a qualified individual with a disability because he was able

  to perform the essential functions of his job with or without reasonable

  accommodations.

        17.    Plaintiff exercised his worker’s compensation rights by filing a

  worker’s compensation claim regarding his work-related leg injury.

        18.    Defendant began subjecting Plaintiff to increased scrutiny and

  baselessly criticizing Plaintiff’s performance – which was not at issue prior to his

  disability and exercise of his worker’s compensation rights – to intimidate Plaintiff

  in retaliation for exercising his worker’s compensation rights and discriminate

  against Plaintiff as compared to his non-disabled, Caucasian counterparts.

        19.    By contrast, Defendant permitted Paul (last name unknown)

  (Caucasian) to violate policy, including but not limited to sleeping on the clock,

  without reprimand.

        20.    Defendant, specifically Laura Fusaro (General Manager, Caucasian),

  attempted to further intimidate and coerce Plaintiff to not further exercise his

  worker’s compensation rights and blatantly refused to reasonably accommodate him

  or otherwise engage in the interactive process by dissuading Plaintiff from obtaining

  further medial treatment when his leg became infected.

        21.    Despite Plaintiff’s obvious need for medical treatment and the

  reasonable accommodation of brief time off due to his disability, which was


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  aggravated by the infection, Defendant failed to inform Plaintiff about his FMLA

  rights.

            22.   Plaintiff was hired on July 10, 2015 and worked full time hours.

  Plaintiff qualified for FMLA because Plaintiff had worked over one year by 2019

  and had worked at least 1250 hours in the year proceeding his need for FMLA, and

  Defendant had at least 50 employees at the location Plaintiff worked and/or within

  a 75-mile radius.

            23.   Defendant’s failure to inform Plaintiff about his FMLA rights

  interfered with Plaintiff’s ability to exercise his rights.

            24.   In March 2020, Plaintiff’s wife fell severely ill, and Defendant sent

  Plaintiff home to quarantine for two weeks.               Defendant provided FMLA

  documentation to Plaintiff for the two-week quarantine. However, when Plaintiff

  submitted the completed documents, Defendant told Plaintiff that he did not need

  FMLA and failed to properly file the FMLA documents.

            25.   Again, Defendant intentionally and willfully interfered with Plaintiff’s

  exercise of his FMLA rights.

            26.   On April 7, 2020, Plaintiff tested positive for COVID-19 and was

  ordered to quarantine for two weeks. Plaintiff informed Ms. Fusaro; however, again,

  Defendant willfully failed to inform Plaintiff about his FMLA rights.




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          27.   Plaintiff was further disabled due to his physical condition of COVID-

  19. COVID-19 is a physical condition that substantially limits the major life activity

  of breathing and interacting with other people.

          28.   Plaintiff was a qualified individual with a disability because he was able

  to perform the essential functions of his job with the reasonable accommodation of

  medical leave to quarantine while actively testing positive.

          29.   On April 21, 2020, Plaintiff was tested again and tested negative.

          30.   Defendant provided Plaintiff with the Department of Health guidelines

  to return to work. At this time, the Department of Health guidelines required

  Plaintiff to obtain two consecutive negative tests because he worked at a nursing

  home.

          31.   On April 23, 2020, Plaintiff tested positive again and was required to

  quarantine until May 7, 2020.

          32.   On April 28, 2020, Plaintiff was tested again and tested positive. He

  was required to continue quarantining for an additional two weeks.

          33.   Defendant continued interfering with his FMLA rights by failing to

  inform Plaintiff about his FMLA rights.

          34.   Throughout Plaintiff’s quarantine, Defendant required Plaintiff to train

  Paul on Plaintiff’s job duties, which also demonstrated that Defendant was willfully




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  refusing to provide FMLA in order to require Plaintiff to perform work during what

  should have been FMLA leave.

         35.   Plaintiff kept Defendant updated about his tests and quarantine status.

  However, Ms. Fusaro pressured Plaintiff to return against his doctor’s orders to

  further harass him regarding his disability and need for reasonable accommodations.

         36.   On May 8, 2020, Plaintiff had a chest x-ray.

         37.   On May 15, 2020, Plaintiff was again tested for COVID-19 and

  informed Ms. Fusaro.

         38.   On May 16, 2020, Defendant emailed Plaintiff a letter falsely alleging

  that Defendant had been unable to contact Plaintiff and would terminate Plaintiff

  effective May 18, 2020 if it did not hear from Plaintiff by 5:00pm on May 18, 2020.

         39.   Defendant had not attempted to contact Plaintiff prior to this

  notification, and Plaintiff had repeatedly updated Defendant about his ongoing

  disability and need for reasonable accommodation of medical leave.

         40.   Plaintiff had been communicating solely via phone, not email.

  Defendant knowingly emailed Plaintiff the termination letter to ensure that Plaintiff

  would not receive it in a timely fashion.

         41.   Defendant failed to provide any notice that Plaintiff’s job was in

  jeopardy and failed to engage in the interactive process to reasonably accommodate

  Plaintiff.


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        42.    Defendant terminated Plaintiff during what should have been FMLA

  protected medical leave on the basis of his disability and need for reasonable

  accommodations and without engaging in the interactive process.

        43.    After Defendant unlawfully terminated Plaintiff, Defendant replaced

  Plaintiff with his Caucasian, non-disabled counterpart, Paul.

        44.    Plaintiff has been damaged by Defendant’s illegal conduct.

        45.    Plaintiff has had to retain the services of undersigned counsel and has

  agreed to pay said counsel reasonable attorneys’ fees.

                                     Count I:
                 Race Based Discrimination in Violation of Title VII

        46.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-45 above.

        47.    At all times relevant to this action, Plaintiff was in a protected category

  under Title VII because of his race, African American.

        48.    Defendant is prohibited under Title VII from discriminating against

  Plaintiff because of his race with regard to discharge, employee compensation, and

  other terms, conditions, and privileges of employment.

        49.    Defendant violated Title VII by discharging and discriminating against

  Plaintiff based on his race.

        50.    Defendant intentionally discriminated against Plaintiff on the basis of

  his race.
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        51.    As a direct and proximate result of Defendant’s unlawful and

  discriminatory conduct in violation of Title VII, Plaintiff has suffered and continues

  to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

  distress, including but not limited to depression, humiliation, embarrassment, stress

  and anxiety, loss of self-esteem and self-confidence, and emotional pain and

  suffering, for which he is entitled to an award of monetary damages and other relief.

        52.    Defendant’s unlawful conduct in violation of Title VII was outrageous

  and malicious, was intended to injure Plaintiff, and was done with conscious

  disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

  punitive damages.

                                       Count II:
                          Retaliation in Violation of Title VII

        53.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-45 above.

        54.    Plaintiff engaged in protected activity under Title VII while employed

  by Defendant.

        55.    Defendant engaged in intentional retaliation against Plaintiff for his

  participation in protected activity.

        56.    Defendant’s conduct violated Title VII.




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        57.    As a direct and proximate result of Defendant’s unlawful and

  discriminatory conduct in violation of Title VII, Plaintiff has suffered and continues

  to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

  distress, including but not limited to depression, humiliation, embarrassment, stress

  and anxiety, loss of self-esteem and self-confidence, and emotional pain and

  suffering, for which he is entitled to an award of monetary damages and other relief.

        58.    Defendant’s unlawful conduct in violation of Title VII was outrageous

  and malicious, was intended to injure Plaintiff, and was done with conscious

  disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

  punitive damages.

                                    Count III:
                  Disability Based Discrimination under the ADA

        59.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-45 above.

        60.    At all times relevant to this action, Plaintiff was a qualified individual

  with a disability within the meaning of the ADA. Plaintiff has an actual disability,

  has a record of being disabled, and/or is perceived as being disabled by Defendant.

        61.    Plaintiff was able to perform the essential functions of his job at the

  time of his unlawful termination.




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        62.    Defendant is prohibited under the ADA from discriminating against

  Plaintiff because of his disability with regard to discharge, employee compensation,

  and other terms, conditions, and privileges of employment.

        63.    Defendant violated the ADA by unlawfully terminating and

  discriminating against Plaintiff based on his disability.


        64.    As a direct and proximate result of Defendant’s unlawful and

  discriminatory conduct in violation of Title VII, Plaintiff has suffered and continues

  to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

  distress, including but not limited to depression, humiliation, embarrassment, stress

  and anxiety, loss of self-esteem and self-confidence, and emotional pain and

  suffering, for which he is entitled to an award of monetary damages and other relief.

        65.    Defendant’s unlawful conduct in violation of Title VII was outrageous

  and malicious, was intended to injure Plaintiff, and was done with conscious

  disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

  punitive damages.

                                        Count IV:
                               Retaliation under the ADA

        66.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-45 above.




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        67.    Defendant intentionally retaliated against Plaintiff for engaging in

  protected activity.

        68.    Defendant’s conduct violates the ADA.

        69.    As a direct and proximate result of Defendant’s unlawful and

  discriminatory conduct in violation of Title VII, Plaintiff has suffered and continues

  to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

  distress, including but not limited to depression, humiliation, embarrassment, stress

  and anxiety, loss of self-esteem and self-confidence, and emotional pain and

  suffering, for which he is entitled to an award of monetary damages and other relief.

        70.    Defendant’s unlawful conduct in violation of Title VII was outrageous

  and malicious, was intended to injure Plaintiff, and was done with conscious

  disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

  punitive damages.

                                       Count V:
                        Interference in Violation of the FMLA

        71.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

  stated in Paragraphs 1-45 above.

        72.    Plaintiff is a covered “employee” as defined by the FMLA because he

  worked for Defendant for more than 12 months preceding the leave, had more than

  1,250 hours of service during the 12 months preceding the leave, and worked at a

  location where the employer has at least 50 employees within 75 miles.
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            73.   At all times relevant to the case, Defendant is and was a covered

  “employer” under the FMLA because it has more than 50 employees employed at

  Plaintiff’s work location and/or within 75miles in 20 or more workweeks in the

  calendar year preceding the leave request.

            74.   Plaintiff exercised, or attempted to exercise, his rights under the FMLA.

            75.   Defendant interfered with Plaintiff’s lawful exercise of his FMLA

  rights.

            76.   Defendant’s actions were willful, knowing, and voluntary, and

  otherwise done with malice and/or reckless indifference for Plaintiff’s rights.


            77.   Plaintiff was injured due to Defendant’s willful violations of the

  FMLA, to which he is entitled to legal relief.

                                           Count VI:
             Retaliation in violation of the Florida Worker’s Compensation Act

            78.   Plaintiff re-alleges and adopts, as if fully set forth herein, the

  allegations stated in Paragraphs 1-45 above.

            79.   Plaintiff exercised or attempted to exercise his worker’s compensation

  rights.

            80.   Defendant is prohibited under the Act from retaliating against Plaintiff

  for exercising or attempting to exercise his worker’s compensation rights by means

  of discharge, threats to discharge, intimidation, or coercion.


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         81.    Defendant retaliated against Plaintiff by means of intimidation and

  coercion.

         82.    Defendant’s conduct violated the Act.

         83.    Plaintiff was injured due to Defendant’s willful violations of the Act,

  to which he is entitled to legal relief.

                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, requests this Honorable Court:

         a)     Enter judgment requiring Defendant to pay back wages and back

  benefits found to be due and owing at the time of trial, front-pay, compensatory

  damages, including emotional distress damages, in the amount to be proved at trial,

  punitive damages, and prejudgment interest thereon;

         b)     Granting Plaintiff costs and an award of reasonable attorneys’ fees

  (including expert witness fees); and

         c)     Award any other and further relief as this Court deems just and proper.

                                     JURY DEMAND

         Plaintiff hereby requests a trial by jury on all triable issues herein.

                                             Respectfully Submitted:


                                             /s/ Zane A. Herman
                                             Zane A. Herman
                                             Florida Bar No.: 120106
                                             Spielberger Law Group
                                             4890 W. Kennedy Blvd., Suite 950

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